UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

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JONATHAN COHEN, SANDRA FABARA,                             MEMORANDUM & ORDER
STEPHEN EBERT, LUIS LAMBOY,
ESTEBAN DEL VALLE, RODRIGO                                 Case No. 13-CV-05612 (FB)
HENTER DE REZENDE, DANIELLE                                (RLM)
MASTRION, WILLIAM TRAMONTOZZI,
JR., THOMAS LUCERO, AKIKO
MIYAKAMI, CHRISTIAN CORTES,
DUSTIN SPAGNOLA, ALICE MIZRACHI,
CARLOS GAME, JAMES ROCCO,
STEVEN LEW, and FRANCISCO
FERNANDEZ,

                       Plaintiffs,

       -against-

G&M REALTY L.P., 22-50 JACKSON
AVENUE OWNERS, L.P., 22-52 JACKSON
AVENUE, LLC, ACD CITIVIEW
BUILDINGS, LLC, and GERALD
WOLKOFF,

                       Defendants.

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MARIA CASTILLO, JAMES COCHRAN, MEMORANDUM
LUIS GOMEZ, BIENBENIDO GUERRA,
RICHARD MILLER, CARLO NIEVA, and Case No. 15-CV-3230 (FB)
KENJI TAKABAYASHI,               (RLM)

                       Plaintiffs,


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      -against-

G&M REALTY L.P., 22-50 JACKSON
AVENUE OWNERS, L.P., 22-52 JACKSON
AVENUE, LLC, ACD CITIVIEW
BUILDINGS, LLC, and GERALD
WOLKOFF,

                    Defendants.



BLOCK, Senior District Judge

      When this case first began on October 10, 2013, the plaintiffs principally

invoked the Visual Artists Rights Act of 1990 (“VARA”), 17 U.S.C. § 106A, to

prevent the destruction of their paintings, all of which adorned either the exterior or

the interior of buildings owned by the defendants. Now, the plaintiffs and defendants

move for summary judgment. The defendants seek the dismissal of the plaintiffs’ third

and final complaint, comprising VARA and tort claims (“Cohen Complaint”); the

plaintiffs ask for the dismissal of the defendants’ counter-claim. For the reasons stated

below, the plaintiffs’ motion is GRANTED, and the defendants’ motion is DENIED

IN PART and GRANTED IN PART.

                                           I

      Because the history of this case has been set forth in the Court’s prior decision

denying the plaintiffs’ request for a preliminary injunction, see Cohen v. G&M Realty


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L.P., 988 F. Supp. 2d 212 (E.D.N.Y. 2013), a brief overview will suffice.1

      The several buildings comprising 5Pointz, owned by either Gerald Wolkoff

(“Wolkoff” or “Gerald”) or one of the four named corporate defendants that he

controls, had housed various commercial enterprises for many years. In the 1990s,

however, uninvited graffiti by many self-proclaimed aerosol artists colored the

buildings’ exterior walls. In 2002, so as to control this problem, Jonathan Cohen

(“Cohen”), one of the plaintiffs, approached Wolkoff and offered to become the

curator of any future works that would be permitted to be painted on the walls.

Though the agreement’s precise terms remain disputed, Wolkoff orally agreed to this

general bargain.

      Under Cohen’s guidance, “the quality of the aerosol art vastly improved,” and

“[t]he site became known as 5Pointz and evolved into a mecca for high-end works by

internationally recognized aerosol artists.” Id. at 219; see also 2d Am. Compl. ¶ 1, No.

13-cv-5612 (“Cohen Compl.”). Although Wolkoff recognized this fact and had even

come to appreciate the work, he and the companies he managed (as well as his son,

David Wolkoff) eventually decided to destroy the 5Pointz buildings and replace them

with two-high rise towers containing 800 luxury rentals and more than 200 affordable



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       Any facts cited within this Memorandum and Order (“Order”) are taken
from the parties’ submissions, including their Local Rule 56.1 Statements, or the
Court’s prior decision.
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units. The City Planning Commission blessed this project with a building permit

issued on August 21, 2013.

      To prevent their works’ destruction, Cohen and other artists sued the defendants

on October 10, 2013. As in their two later pleadings, the plaintiffs then asserted not

only VARA claims but also common law tort claims. With the complaint, the

plaintiffs filed a motion for a preliminary injunction. On October 17, 2013, the Court

issued a temporary restraining order, and on November 12, 2013, denied their request

for injunctive relief. On June 17, 2014, the plaintiffs filed the Cohen Complaint. In it,

four claims are pled: (1) VARA, (2) intentional infliction of emotional distress

(“IIED”), (3) conversion, and (4) property damage. Cohen Compl. ¶¶ 191–210. The

defendants responded with an answer and counterclaim for abuse of process.

Discovery commenced, and these motions followed.

      On June 3, 2015, Maria Castillo and other artists (“Castillo Plaintiffs”) initiated

a separate lawsuit against the defendants (“Castillo Matter”). As here, the Castillo

Plaintiffs adduce the same four claims in their pleadings. And, as here, they and the

defendants filed motions for summary judgment raising the same substantive

arguments, now addressed by the Court.




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A.    Plaintiffs’ VARA Claims

1.    Existence of Genuine Dispute

      “[A]s [the] defendants’ expert correctly [and previously] acknowledged, VARA

protects even temporary works from destruction.” Cohen, 988 F. Supp. 2d at 227; cf.

Mass. Museum of Contemporary Art Found., Inc. v. Buchel, 593 F.3d 38, 51 (1st Cir.

2010) (noting that, while “[t]he text of VARA itself does not state when an artistic

project becomes a work of visual art subject to its protections,” VARA protects certain

“unfinished” works of art).

      Moreover, even if a piece of art encompassed by VARA is destroyed, VARA

provides that “monetary damages may be awarded” if “it is ultimately determined

after trial that the plaintiffs’ works were of ‘recognized stature.’” Cohen, 988 F. Supp.

2d at 227; see also Pollara v. Seymour, 150 F. Supp. 2d 393, 399 n.9, n.10 (N.D.N.Y.

2001) (holding that, if VARA applied, damages would be owed).

      The appropriate level of damages is set in the more general provisions of the

Copyright Act (“Act”), which authorize either statutory or actual damages.2 17 U.S.C.

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        Under the Act, “with respect to any one work,” statutory damages may
range from “not less than $750 or more than $30,000 as the court considers just.”
Id. § 504(c)(1). The plaintiffs may also elect to recover “actual damages,” as
shown by expert testimony. Id. § 504(b); Faulkner v. Nat'l Geographic Soc’y, 576
F. Supp. 2d 609, 615–20 (S.D.N.Y. 2008). The term is “broadly construed to favor
victims.” Davis v. Gap, Inc., 246 F.3d 152, 164 (2d Cir. 2001). In general, “[t]he
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§ 504(b), (c)(1) (setting forth relevant standards); H.R. REP. NO. 101-514, at (1990)

(noting that VARA “makes all title 17 remedies (excluding the criminal sanctions

provided by section 506) available to those authors,” including “monetary damages”).

      Though statutorily undefined, “‘[r]ecognized stature’ is a necessary finding

under VARA in order to protect a work of visual art.” Martin v. City of Indianapolis,

192 F.3d 608, 612 (7th Cir. 1999). To make this requisite showing, “plaintiffs

generally, but not inevitably, will need to call expert witnesses to testify before the

trier of fact.” Carter v. Helmsley-Spear, Inc., 861 F. Supp. 303, 325 (S.D.N.Y. 1994).

Naturally, defendants often respond with their own experts. Cf. Scott v. Dixon, 309 F.

Supp. 2d 395, 400 (E.D.N.Y. 2004) (“The stature of a work of art is generally

established through expert testimony.”); Phillips v. Pembroke Real Estate, Inc., 288

F. Supp. 2d 89, 97 (D. Mass. 2003) (noting that courts “generally” determine whether

a particular work possessed “recognized statute” based on expert testimony); Pollara

v. Seymour, 206 F. Supp. 2d 333, 336 (N.D.N.Y. 2002) (concluding that courts have

regularly consulted the opinions of “art experts,” “other members of the artistic

community, or . . . some cross-section of society” in making this determination). As




award of the owner’s actual damages looks at the facts from the point of view of
the[] . . . owner; it undertakes to compensate the owner for any harm he suffered by
reason of the . . . illegal act.” Id. at 159.
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a consequence, fighting experts are not uncommon in the sparse jurisprudence

construing VARA’s “recognized stature” criterion.

      The plaintiffs have presented one expert, see Pls.’ MSJ at 2–19, 21–26; the

defendants offer another, see Defs.’ MSJ at 20–35. The defendants spend much of

their motion on undermining the viability of the plaintiffs’ expert, see Defs.’ MSJ at

12–29; the plaintiffs do the same in their opposition, Pls.’ MSJ at 2–19, 21–26.

Dueling (and facially credible) experts’ divergent analyses create a triable issue of

fact, which forecloses judgment in favor of any of the parties as to the plaintiffs’

VARA claim.

2.    Defendants’ Arguments

      At oral argument, the defendants focused on two aspects of their motion for

summary judgment. First, they argued that the plaintiffs’ expert report focused on the

“recognized stature” of the artist, rather than the work itself, in contravention of

VARA. Courts and parties, however, have employed a variety of methods to

determine “recognized stature.” Pavia v. 1120 Av. of the Americas Assocs., 901 F.

Supp. 620, 624, 627 (S.D.N.Y. 1995); Carter, 861 F. Supp. at 325 n.10. Such methods

include inferring a particular work’s recognized stature on the basis of its creator’s

reputation, see, e.g., Carter, 861 F. Supp. at 325; Lubner v. City of L.A., 53 Cal. Rptr.

2d 24, 29 (Cal. Ct. App. 1996), or employing iconoclastic and disputable aesthetic

theories, see English v. BFC & R. East 11ths St. LLC, No. 97 Civ. 7446, 1997 WL
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746444, at *6 (S.D.N.Y. Dec. 3, 1997), which is precisely what the defendants

contend happened here. Collectively, therefore, there is a legal basis for the plaintiffs’

expert’s chosen methodology. With VARA silent as to how a work’s stature may be

pegged, acceptance of such methodology in this case has the added benefit of

honoring VARA’s broad purpose. See H.R. REP. NO. 101-514, at 11.

      Second, the defendants accuse the plaintiffs’ expert of misapplying her own

premises or disregarding her own methodology. Having examined the relevant report,

the Court does harbor some skepticism regarding the cogency of the relevant opinions,

not only due to their premises but also their rigor. Nonetheless, as the Second Circuit

has stated, a trial court should limit itself to the exclusion of “junk science” under the

standard set forth in Daubert v. Merrell Dow Pharmaceuticals, Inc.,509 U.S, 579

(1993). Iacobelli Constr. v. Cnty. of Monroe, Rochester Pure Waters Dist., 32 F.3d

19, 24–25 (2d Cir. 1993); see also SR Int’l Bus. Ins. Co. v. World Trade Ctr. Props.,

LLC, 467 F.3d 107, 134 (2d Cir. 2006). Here, when one looks at the pertinent reports,

the plaintiffs’ expert used a variety of factors in reaching her conclusion regarding the

seeming stature of plaintiffs’ work, including Cohen’s multiple commissions from

such entities as Coors, Heineken, Swatch, and Deutsche Bank; another’s commissions

from some of Brazil’s famous brands; a third one’s hiring by celebrity clients and a

public park; the opinions of leading museum professionals and other artists; the

individual artist’s social media followers and their works’ google hits; flattering

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newspaper accounts in The Boston Globe, The New York Times, and New York

Magazine; academic approval; private and public exhibitions of the artists’ other work

throughout the United States and other nations; numerous awards, including induction

in the Graffiti Hall of Fame; and more. By citing such evidence, all of which courts

have deemed as relevant to the question of recognized stature and may reasonably

indicate a specific artist’s place in the art world (and, by association, their works’), see

Christopher J. Robinson, The “Recognized Statute” Standard in the Visual Artists

Rights Act, 68 FORDHAM L. REV. 1935, 1948–58 (2000) (summarizing the courts’

multiple approaches to this criterion), the plaintiffs’ expert’s report here “explain[ed]

in detail which documents were reviewed, relevant industry customs and practices,

and the general bases for . .. [her] opinions.” Iacobelli Constr, 32 F.3d at 25 (alteration

in original). Having done so, the expert and the plaintiffs met the Daubert minimum,

and any remaining problems with the expert are for the jury to decide.

B.     Defendants’ Counterclaim

       To state a claim for abuse of process under New York law, a party must show

that an opponent “(1) employ[ed] regularly issued legal process to compel

performance or forbearance of some act (2) with intent to do harm without excuse or

justification, and (3) in order to obtain a collateral objective that is outside the

legitimate ends of the process.” Savino v. City of New York, 331 F.3d 63, 76 (2d Cir.

2003). “The crux of a malicious abuse of process claim is the collateral objective
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element,” Kraft v. City of New York, 696 F. Supp. 2d 403, 416 (S.D.N.Y. 2010), and

“the gist of abuse of process is the improper use of process after it is regularly

issued,” Cook v. Sheldon, 41 F.3d 73, 80 (2d Cir. 1994) (emphasis added). “[T]he

New York Court of Appeals has made clear that ‘[a] malicious motive alone . . . does

not give rise to a cause of action for abuse of process.’” Savino, 331 F.3d at 77.

Rather, only “an improper purpose” suffices to meet this tort’s “collateral objective”

prong. Id. An abuse of process claim thus requires an ulterior purpose such as the

infliction of economic harm, extortion, blackmail, or retribution. Hoyos v. City of New

York, 999 F. Supp. 2d 375, 391 (E.D.N.Y. 2013).

      In their answer, the defendants plead a counterclaim for abuse of process based

on Cohen’s alleged agreement with Wolkoff. This accord, they contend, was invented

by Cohen “for the improper collateral purpose of preserving 5Pointz as a tourist

attraction, for which Cohen had no legal basis.” Ans. to 2d Am. Compl. ¶ 33. But,

whatever Cohen’s motive for preserving 5Pointz, the plaintiffs sought a temporary

restraining order and preliminary injunction to prevent the destruction of their artistic

work; VARA offers exactly that remedy for that purported misdeed. The plaintiffs

thus did no more than invoke a particular law to achieve the end for which it was

designed. When legal processes are used for their intended purposes, no cognizable

claim for abuse of process can possibly exist. See, e.g., Mosdos v. Chofetz Chaim, Inc.

v. RBS Citizens, N.A., 14 F. Supp. 3d 191, 212 (S.D.N.Y. 2014) (quoting Bd. of Educ.

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of Farmingdale Union Free sch. Dist. v. Farmingdale Classroom Teachers Ass’n,

Inc., 38 N.Y.2d 397 (1975)); see also, e.g., Granito v. Tiska, 181 F. Supp. 2d 106, 118

(N.D.N.Y. 2001).

C.    Plaintiffs’ State Law Claims

      VARA preempts all equivalent legal or equitable rights “with respect to works

of visual art” and thus deprives any person of “any such right or equivalent right in

any work of visual art under the common law or statutes of any State.” 17 U.S.C. §

301(a); see also Rosciszewski v. Arete Assocs., Inc., 1 F.3d 225, 232 (4th Cir. 1993)

(describing § 301(a) as containing “a broad mandatory preemption provision for

causes of action equivalent to copyright claims” like those under VARA). But VARA

does not “annul[] or limit[] any rights or remedies under the common law or statutes

of any State with respect to . . . subject matter that does not come within the subject

matter of copyright” or “activities violating legal or equitable rights that are not

equivalent to any of the rights conferred by . . . [it] with respect to works of visual

art.” 17 U.S.C. § 301(b)(1), (3). VARA thus does not preempt all state law torts with

similar elements to VARA. Coll. of Charleston Found. v. Ham, 585 F Supp 2d 737,

747–48 (D.S.C. 2008). Rather, it subsumes only those whose essential predicates

which can be found in the typical VARA claim. Internet Archive v. Shell, 505 F. Supp.

2d 755, 763 (D. Colo. 2007).



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      Here, the plaintiffs’ conversion and property damage claims are predicated on

the defendants’ destruction of their artwork. But for VARA, the plaintiffs would have

no right to prevent 5Pointz’s destruction by its rightful and legal owner; hence, the

plaintiffs’ “ moral rights” to prevent another’s disposition of his property arise purely

under VARA. Because the plaintiffs’ conversion and property damage claims wholly

depend on the viability of their VARA claim, the Court finds them to be fully

preempted.

      The plaintiff’s IIED claim, meanwhile, is premised on the emotional

ramifications of the defendants’ allegedly unauthorized destruction of 5Pointz.

Therefore, because, but for VARA, the defendants would have had the legal right to

demolish their own property, this claim is duplicative of the plaintiffs’ other two state

law claims. Predicated on rights conferred by VARA, they must be deemed similarly

preempted. See, e.g., Giddings v. Vision House Prod., Inc., No. CV

05-2963-PHX-MHM 2007 WL 2274800, at *2–3 (D. Ariz. Aug. 7, 2007) (so finding);

Sturdza v. United Arab Emirates, 350 U.S. App. D.C. 154, 281 F.3d 1287, 1305 (D.C.

Cir. 2002) (same); Rainey v. Wayne State Univ., 26 F. Supp. 2d 963, 969 (E.D. Mich.

1998) (same). To contend that the defendants intended to harm them deeply, as the

plaintiffs do here, does not change this essential calculus. See, e.g., Briarpatch Ltd.,

L.P v. Phoenix Pictures, Inc., 373 F.3d 296, 305 (2d Cir. 2004) (“[W]e take a

restrictive view of what extra elements transform an otherwise equivalent claim into

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one that is qualitatively different from a copyright infringement claim.”); Nat’l

Basketball Ass’n v. Motorola, Inc., 105 F.3d 841, 851 (2d Cir. 1997) (“An action will

not be saved from preemption by elements such as awareness or intent, which alter the

action’s scope but not its nature.”).

      In any event, under New York law, “a cause of action for either intentional or

negligent infliction of emotional distress must be supported by allegations of conduct

by the defendants so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized community.” Sheila C. v. Povich, 781 N.Y.S.2d 342, 351 (1st

Dep’t 2004). Because the defendants destroyed 5Pointz only after the Court dissolved

its temporary restraining order and did no more than raze what they rightfully owned,

the defendants simply did not engage in the kind of outrageous and uncivilized

conduct for whose punishment this disfavored tort was designed. See RESTATEMENT

(SECOND) OF TORTS § 46 cmt. g (“[An] actor is never liable, for example, where he has

done no more than to insist upon his legal rights in a permissible way, even though he

is well aware that such insistence is certain to cause emotional distress.”),3 cited in,

e.g., Howell v. New York Post Co., 81 N.Y.2d 115, 125–26 (N.Y. 1993).



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       New York has adopted this particular section of the Restatement. See
Fischer v Maloney, 43 N.Y.2d 553, 557 (N.Y. 1978).

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                                          III

      For the foregoing reasons, the defendants’ motion is GRANTED as to the

plaintiffs’ claims for conversion, property damage, and IIED, but DENIED as to the

plaintiffs’ VARA claim, and the plaintiffs’ motion is GRANTED with respect to the

defendants’ counterclaim.4 Accordingly, the matter shall proceed to trial on the VARA

claim issue.5 In addition, as the plaintiff’s counsel was unable to specify the number

of artwork at issue, counsel is directed to submit a final list to the defendants and the

Court on or before May 1, 2017. Depending on the length of the list, the Court
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        For the reasons stated in this Order, the motions for summary judgment in
the Castillo Matter, which echo the arguments dissected within this Order, will be
similarly disposed. Hence, the plaintiffs’ motion will be granted, and the
defendants’ motion will be granted in part and denied in part.
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          This Order does not address an issue raised, but not addressed, by the
survival of this claim. Because VARA incorporates the Act’s damages section, it
arguably compels a jury trial regardless of the relief sought. See Feltner v.
Columbia Pictures Television, Inc., 523 U.S. 340, 355 (1998) (“[T]he Seventh
Amendment provides a right to a jury trial on all issues pertinent to an award of
statutory damages under § 504(c) of the Copyright Act, including the amount
itself.”). However, whether or not a VARA plaintiff is entitled to a jury trial when
statutory damages are exclusively sought is an open question in the Second Circuit.
Pollara v. Seymour, 344 F.3d 265, 268 (2d Cir. 2003) (declining to decide the
issue); see also, e.g., Pollara, 150 F. Supp. 2d at 399 n.10 (holding that no jury
trial is required under VARA). At present, the plaintiffs have not made such an
election, and the Cohen Complaint appears to pray for, among other things, actual
damages. See Cohen Compl. at 26. Regardless, where a case presents common
factual issues necessary to the resolution of a party’s legal and equitable rights,
precedent commands that the legal claims be tried to a jury first. See Robinson v.
Metro-N. Commuter R.R. Co., 267 F.3d 147, 170 (2d Cir. 2001), abrogated in
unrelated part by Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011).


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reserves judgment as to whether the list is short enough to be handled by a single jury.



SO ORDERED
                                               /S/ Frederic Block_________
                                               FREDERIC BLOCK
                                               Senior United States District Judge
Brooklyn, New York
March 31, 2017




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